     Case 1:24-cr-00542-AS         Document 84         Filed 11/22/24      Page 1 of 2

                                     AGNIFILO
                                     INTRATER
                                    November 22, 2024

BY EMAIL
Hon. Arnn Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        We submit this letter in further suppo1i of Mr. Combs' Renewed Motion for Bond
(Dkt. 60), with the accompanying exhibit, which is a letter the government sent to us at
11 :32 pm yesterday evening. This letter was sent to us in response to targeted Brady
requests. The proffers cited in the government's letter fuii her suppo1i Mr. Combs' position
as to "the weight of the evidence" and "the nature and seriousness of the offense." 18
U.S.C. § 3142(g)(2) & (4).

        As just one example, in attempting to rebut the defense's proffer during the initial
bail hearing, the government argued the following:

               Yesterday, the defense said they interviewed about half a
               dozen escolis who would dispute the government's account
               of what happened during the freak offs. Our investigation is
               ongoing, and so I can 't say too much about this, but I will
               note that half a dozen esco1is is just the tip of the iceberg of
               the number of esco1is who have paiiicipated in freak offs.

Sept. 18, 2024 Tr.13.




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    Case 1:24-cr-00542-AS         Document 84       Filed 11/22/24     Page 2 of 2

Hon. Arun Subramanian
November 22, 2024
Page 2 of 2


       Additionally, this letter provides even more new information that warrants
reopening the bail proceedings. Defense counsel will address these points at the bail
hearing today.

       Although we do not believe there is any basis to seal the government’s letter, we
have not had an opportunity to confer with the government on this issue and are filing it
under seal in the first instance in an abundance of caution.

                                             Respectfully submitted,



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